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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 W.K., E.H., M.M., R.P., M.B., D.P., A.F.,
 C.A., R.K., K.P., and T.H.,

        Plaintiffs,
                                               CIVIL ACTION FILE
 v.
                                               NO. 1:20-cv-5263-MHC
 RED ROOF INNS, INC., FMW RRI NC,
 LLC, RED ROOF FRANCHISING, LLC,
                                               JURY TRIAL DEMANDED
 RRI WEST MANAGEMENT, LLC,
 VARAHI HOTEL, LLC, WESTMONT
                                               Pursuant to Fed. R. Civ. P. 38
 HOSPITALITY GROUP, INC., and RRI
 III, LLC,

         Defendants.


 JANE DOE 1–4,
                                               CIVIL ACTION FILE
         Plaintiffs,
                                               NO. 1:21-cv-04278-WMR
 v.
                                               JURY TRIAL DEMANDED
 RED ROOF INNS, INC., et al.
                                               Pursuant to Fed. R. Civ. P. 38
         Defendant,


                CERTIFICATE OF SERVICE OF DISCOVERY

        I hereby certify that on July 20, 2022, I served a true and correct copy

of the following document in accordance with the certificate of service

attached thereto:
#3402232v1
                                         1
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        1. Plaintiffs’ Fourth Requests for Production of Documents to Red Roof

             Inns, Inc., FMW RRI NC, LLC, Red Roof Franchising, LLC, RRI

             West Management, LLC, and RRI III, LLC.


        Respectfully submitted this 20th day of July, 2022.



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                         CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of July, 2022, I served a true and

correct copy of the within and foregoing CERTIFICATE OF SERVICE OF

DISCOVERY using the CM/ECF filing system which will cause copies to be

served on counsel as follows:

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                                      /s/ Michael R. Baumrind




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